














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


					




NO. PD-0444-13





	LADELL ONTWELL NELSON, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY


		



	Per curiam.  Keasler and Hervey, JJ., dissent. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b),
because the original petition is not accompanied by eleven (11) copies.

	The petition for discretionary review is also struck because it violates Rule of
Appellate Procedure 68.4(i), because it does not contain a complete copy of the opinion of
the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals of Texas  within thirty (30) days after the date of this order.


Filed: June 12, 2013.

Do Not Publish.


